Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.359 Page 1 of 6
Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.360 Page 2 of 6
Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.361 Page 3 of 6
Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.362 Page 4 of 6
Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.363 Page 5 of 6
Case 2:07-cr-02032-EFS   ECF No. 155   filed 09/10/07   PageID.364 Page 6 of 6
